Groves v. Colburn, Slip Copy (2013)




   KeyCite Yellow Flag - Negative Treatment                                  I. Facts and Procedural History
Distinguished by Clem v. Delta Pharma, Inc., W.D,Tenn., June 25, 2015        This case involves a medical malpractice' cause of action
                 2013 WL 3964758                                             arising out of the defendant's treatment of Deacon
   Only the Westlaw citation is currently available.                         Charles Groves ("decedent"). According to the complaint,
                                                                             on April 25, 2009, decedent presented to Skyline Medical
    SEE COURT OF APPEALS RULES 11 AND 12                                     Center Emergency Room with complaints of severe
                                                                             nausea and vomiting. He was admitted to Skyline Medical
              Court of Appeals of Tennessee.                                 Center for evaluation. During his hospitalization,
                                                                             decedent fell from his hospital bed and sustained a head
 Anne GROVES, Individually and As Next of Kin of
                                                                             abrasion which led to additional medical complications
                Charles Groves.
                                                                             and, ultimately, his death.
                      v.
         Christopher COLBURN, M.D.
                                                                             On August 20, 2010, Anne Groves ("Mrs.Groves"),
             No. M2o12-01834—COA—R3—CV.                                      decedent's widow, filed her initial complaint asserting
                                                                             medical malpractice and wrongful death claims against
                      May 9, 2013 Session.                                   HTI Memorial Corporation d/b/a Skyline Medical Center
                                                                             ("Skyline"). Mrs. Groves alleged "[t]he Defendant's
                          July 30, 2013.                                     medical personnel did not immediately notify a physician
                                                                             that Mr. Groves had fallen and failed to request that a CT
                                                                             head scan be ordered in order to evaluate the condition of
Appeal from the Circuit Court for Davidson County, No.                       Mr. Groves post fall." The complaint included a
10C3225; Amanda Jane McClendon, Judge.                                       certificate of good faith in accordance with Tenn.Code
                                                                             Ann. § 29-26-122.
Attorneys and Law Firms
                                                                             Following discovery, Mrs. Groves determined that Dr.
Cyrus Lucius Booker, Nashville, Tennessee, for the                           Christopher Colburn should be added as a party to the
appellant, Ann Groves, individually and as next of kin of                    lawsuit. On August 25, 2011, she sent Dr. Colburn notice
Charles Groves.                                                              of the claim in compliance with Tenn.Code Ann. §
                                                                             29-26-121. On November 9, 2011, Mrs. Groves filed a
Jonathan Eric Miles, Phillip Lester North, and Lauren J.                     motion to amend the complaint, which was granted by
Smith, Nashville, Tennessee, for the appellee, Christopher                   order entered December 9, 2011. Mrs. Groves filed her
Colburn, M.D.                                                                amended complaint against Skyline and Dr. Colburn on
                                                                             December 28, 2011 asserting that, "Nurse Victor Street
ANDY D. BENNETT, J., delivered the opinion of the
                                                                             alleges that [Dr. Colburn] was contacted shortly after
Court, in which PATRICIA J. COTTRELL, M.S., P.J.,
                                                                             [decedent] had fallen, and that [Dr. Colburn] did not order
and RICHARD H. DINKINS, J., joined.
                                                                             any test to assess [decedent's] post-fall condition." Mrs.
                                                                             Groves did not contemporaneously file a certificate of
                                                                             good faith with the amended complaint.
                           OPINION
                                                                             On February 15, 2012, Dr. Colburn moved for summary
                                                                             judgment arguing that Mrs. Groves's claim was barred by
ANDY D. BENNETT, J.                                                          the statute of limitations and that her failure to file a
                                                                             certificate of good faith entitled him to judgment as a
*1 Plaintiff filed a complaint against a hospital in which                   matter of law. The next day, Mrs. Groves filed a
she asserted claims for medical malpractice and wrongful                     certificate of good faith that included Dr. Colburn as a
death. She later amended her complaint to add a party and                    defendant in the style of the case; the content of this
did not contemporaneously file a certificate of good faith.                  second certificate was the same as the original certificate
The trial court dismissed the second complaint with                          filed with the initial complaint.
prejudice based upon the court's determination that
plaintiff failed to satisfy the requirements of 'Tenn.Code                   On May 31, 2012, the trial court entered an order granting
Ann. § 29-26-122. We affirm the trial court.                                 summary judgment in favor of Dr. Colburn. The court

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held that Mrs. Groves was required to file a second                             the complaint, the complaint shall be dismissed, as
certificate of good faith with her amended complaint.' The                      provided in subsection (c), absent a showing that the
court further held that the original certificate of good faith                  failure was due to the failure of the provider to timely
did not cover the addition of Dr. Colbum as a defendant                         provide copies of the claimant's records requested as
and that the delayed filing of the certificate did not satisfy                  provided in § 29-26-121 or demonstrated
the requirements of Tenn.Code Ann, § 29-26-122.                                 extraordinary cause. The certificate of good faith shall
                                                                                state that:
*2 On June 8,2012, Mrs. Groves moved the court to alter,
amend, or reconsider its ruling, and moved, in the                              (1) The plaintiff or plaintiff's counsel has consulted
alternative, for leave to file a second amended complaint                       with one (1) or more experts who have provided a
or an interlocutory appeal. The trial court denied these                        signed written statement confirming that upon
motions and made its May 31 order a final judgment as to                        information and belief they:
Dr. Colburn.
                                                                                  (A) Are competent under § 29-26-115 to express an
Mrs. Groves appeals.                                                              opinion or opinions in the case; and

                                                                                  (B) Believe, based on the information available from
                                                                                  the medical records concerning the care and
II, Analysis                                                                      treatment of the plaintiff for the incident or incidents
The issue before us is whether Tenn.Code Ann. §                                   at issue, that there is a good faith basis to maintain
29-26 122 required Mrs. Groves to file a second                                   the action consistent with the requirements of §
certificate of good faith when she amended her complaint                          29-26-115; or
to add a defendant. Mrs. Groves asserts that the certificate
                                                                                (2) The plaintiff or plaintiffs counsel has consulted
she filed when she commenced the action against Skyline
                                                                                with one (1) or more experts who have provided a
was sufficient to cover the addition of Dr. Colbum as a
                                                                                signed written statement confirming that upon
party.
                                                                                information and belief they:
To resolve this issue, we must construe Tenn.Code Ann. §
                                                                                  *3 (A) Are competent under § 29-26-115 to express
29-26-122(a). We do so according to the well-settled
                                                                                  an opinion or opinions in the case; and
principles articulated by our Supreme Court as follows:
                                                                                  (B) Believe, based on the information available from
  The leading rule governing our construction of any
                                                                                  the medical records reviewed concerning the care
  statute is to ascertain and give effect to the legislature's
                                                                                  and treatment of the plaintiff for the incident or
  intent. To that end, we start with an examination of the
                                                                                  incidents at issue and, as appropriate, information
  statute's language, presuming that the legislature
                                                                                  from the plaintiff or others with knowledge of the
  intended that each word be given full effect. When the
                                                                                  incident or incidents at issue, that there are facts
  import of a statute is unambiguous, we discern
                                                                                  material to the resolution of the case that cannot be
  legislative intent "from the natural and ordinary
                                                                                  reasonably ascertained from the medical records or
  meaning of the statutory language within the context of
                                                                                  information reasonably available to the plaintiff or
  the entire statute without any forced or subtle
                                                                                  plaintiff's counsel; and that, despite the absence of
  construction that would extend or limit the statute's
                                                                                  this information, there is a good faith basis for
  meaning."
                                                                                  maintaining the action as to each defendant
                                                                                  consistent with the requirements of § 29-26-115.
Myers v.             (S H), Inc., 382 S.W.3d 300, 308
                                                                                  Refusal of the defendant to release the medical
(Tenn.2012) (citations omitted). Statutory construction is
                                                                                  records in a timely fashion or where it is impossible
a question of law that is reviewed de novo without a
                                                                                  for the plaintiff to obtain the medical records shall
presumption of correctness. Estate of French v. ..9rcafird
                                                                                  waive the requirement that the expert review the
House, 333 S.W.3d 546,554 (Tenn.2011).
                                                                                  medical record prior to expert certification.
Tennessee Code Annotated section 29-26-122(a) states:
                                                                          Our Supreme Court has previously opined that the filing
                                                                          of a certificate of good faith with a complaint is
  In any health care liability action in which expert
                                                                          mandatory, and strict compliance is required. Myers, 382
  testimony is required by § 29-26-115, the plaintiff or
                                                                          S.W.3d at 308 (noting that the use of the word "shall" in
  plaintiff's counsel shall file a certificate of good faith
                                                                          Tenn.Code Ann. § 29--26--122(a) "indicates that the
  with the complaint. If the certificate is not filed with

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legislature intended the requirements to be mandatory, not                             (c), absent a showing that the failure was due to the
directory").                                                                           failure of the provider to timely provide copies of the
                                                                                       claimant's records requested as provided in §
When Mrs. Groves filed the certificate with her initial                                29-26-121 or demonstrated extraordinary cause."
complaint, she confirmed that she or her counsel had                                   Tenn.Code Ann. § 29-26-122(a) (emphasis added).
consulted with at least one expert who provided a signed                               Subsection (c) of the statute provides that "[t]he failure
written statement confirming there was a "good faith basis                             of a plaintiff to file a certificate of good faith in
to maintain the action consistent with the requirements of                             compliance with this section shall, upon motion, make
§ 29-26-115." The expert's opinion was predicated on                                   the action subject to dismissal with prejudice." Id. at §
his or her belief that there was a good faith basis to                                 29-26-122(c) (emphasis added). Although the statutory
maintain the cause of action against the named defendant,                              scheme provides the trial court with discretion to,
Skyline. The allegations in the initial complaint were                                 "upon motion, grant an extension within which to file a
directed toward nurses who "did not immediately notify a                               certificate of good faith if the court determines that a
physician that Mr. Groves had fallen."' When Mrs.                                      health care provider who has medical records relevant
Groves learned additional information that implicated Dr.                              to the issues in the case has failed to timely produce
Colburn, she was required to consult with an expert' to                                medical records upon timely request, or for other good
determine whether there was a good faith basis to                                      cause shown," id, Mr. Myers did not file a motion
maintain a cause of action against him and to file a                                   seeking such relief. Consequently, his complaint must
certificate indicating as such with her amended complaint.                             be dismissed with prejudice.
Since the allegations changed to claim physician liability
based on different facts, a new certificate based upon the                           Id. at 311-12. The Court further emphasized that the
expert's review of newly alleged facts was necessary.                                legislature expressly provided for the consequence of
Because Mrs. Groves failed to file a certificate of good                             dismissal with prejudice in Tenn.Code Ann. § 29-26-122
faith with her amended complaint, Tenn.Code Ann. §                                   but did not provide for the same consequence when a
29--26-122(a) directed the trial court to dismiss the                                plaintiff fails to comply with the pre-suit notice
action.'                                                                             requirement in Tenn.Code Ann. § 29-26-121. Id at 312.

We now consider Mrs. Groves's argument that the trial                                Like the plaintiff in Myers, Mrs. Groves does not argue
court's "Manure to allow the filing of an amended                                    that her failure to file the certificate resulted from a failure
complaint and/or to grant other relief constitutes an abuse                          on the part of the defendants to provide records, nor did
of discretion."                                                                      she demonstrate "extraordinary cause" or any "other good
                                                                                     cause." We find the trial court appropriately dismissed the
To address Mrs. Groves's contention, we turn to our                                  complaint with prejudice in accordance with Tenn.Code
Supreme Court's decision in Myers v. AMISUB (.S/'H                                   Ann. § 29--26--122(a) and (c).
Inc., 382 S.W.3d 300 (Tenn.2012) for guidance. In Myers,
the plaintiff filed a medical malpractice suit in 2007,
which he later voluntarily dismissed. Myers, 382 S.W.3d
at 304. When the plaintiff re-filed his action in 2009, he                           III. Conclusion
failed to file a certificate of good faith or pre-suit notice in                     For the foregoing reasons, we affirm the trial court's
compliance with Tenn.Code Ann. §§ 29-26-121 and 122.                                 dismissal of Mrs. Groves's claim against Dr. Colburn,
Id. at 306. In determining that his complaint should be                              Costs of appeal are assessed against appellant for which
dismissed with prejudice pursuant to Tenn.Code Ann. §                                execution may issue if necessary.
29-26-122, the Court reasoned as follows:

    *4 The legislature expressly provided the consequence
                                                                                     All Citations
    of a plaintiff's failure to tile the required certificate of
    good faith with the complaint in Tennessee Code
                                                                                     Slip Copy, 2013 WL 3964758
    Annotated section 29-26-122, stating that "the
    complaint shall be dismissed, as provided in subsection

Footnotes

1        We note that 2012 Tennessee Public Acts Chapter 798 substituted the words "health care liability" for the words "medical
         malpractice" in the statutes involved in this appeal. The complaint at issue here was filed December 28, 2011, thus we refer to
         the cause of action as medical malpractice as did the statute in effect at the time,

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2         The court held that the statute of limitations had not expired as to Dr. Colburn. The court's holding regarding the statute of
          limitations is not a subject of this appeal.

3         The complaint also asserted that Skyline: "knew or should have known of Mr. Groves's need for proper medical attention and
          monitoring due to his 'fall risk' "; "failed to ensure that Mr. Groves's Smart Bed was turned on prior to his falling"; and "chose to
          attempt to cover-up the initial acts of negligence by not taking reasonable steps to immediately inform family members and/or
          any physician at the hospital."

4         Asserting causes of action against multiple defendants who practice in differing specialties (such as the doctor and the nurses in
          this case) may necessitate different experts to opine regarding the standard of acceptable professional practice and proximate
          cause. See Tenn.Code Ann. § 29-26-115.

5         We believe this holding is consistent with Tenn.Code Ann. § 29-26-122(b), which requires a defendant who alleges fault against
          a non-party to file a certificate of good faith with their answer.




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                                                                                         Appeal and Error
    KeyCite Yellow Flag - Negative Treatment                                            .,—interlocutory rulings and appeals
Distinguished by Clem v. Delta l'harma, Inc., W.D.Tenn„ June 25, 2015
                        469 S.W.3d 46                                                   Unlike an appeal as of right, in which both the
                                                                                        appellant and the appellee have broad latitude
Editor's Note: Additions are indicated by Text and                                      with regard to the issues that may be raised, the
deletions by Text.                                                                      questions the Court of Appeals may address on
            Court of Appeals of Tennessee,                                              interlocutory appeal are limited to those matters
                   AT NASHVILLE.                                                        clearly embraced within the issues certified by
                                                                                        the trial court. Tenn. R. App. P. 3, 9.
             Susan SIRBAUGH
                     v.
   VANDERBILT UNIVERSITY, d/b/a Vanderbilt                                              Cases that cite this headnote
       University Medical Center, et al.

              No. M2o14-00153—COA—R9—CV

                 September 16, 2014 Session                                      121    Health
                                                                                        t,--.Affidavits of merit or meritorious defense;
                   Filed December 30, 2014                                               expert affidavits
    Permission to Appeal Denied by Supreme Court                                        When a health care liability plaintiff learned that
                    May 14, 2015                                                        a non-party home health service and medical
                                                                                        center might be at fault, waived the filing of a
                                                                                        certificate of good faith for surgeon's and
Synopsis                                                                                hospital's comparative fault claims against the
Background: Patient brought action against surgeon and                                  home health service and medical center, and
hospital where surgery was performed for medical                                        decided to amend her complaint to add the home
malpractice. Surgeon and hospital asserted comparative                                  health service and medical center as defendants,
fault claims against non-party home health service and a                                patient was required to consult with an expert to
medical center where patient received treatment of the                                  determine whether there was a good faith basis
incision opening. Patient amended her complaint to add                                  to maintain a cause of action against the home
home health service and medical center as defendants.                                   health service and medical center and to file a
The Circuit Court, Davidson County, No. 12C4744,                                        new certificate of good faith indicating as such
Hamilton V. Gayden, Jr., J., dismissed patient's claims                                 with her amended complaint adding them as
against home health service and medical center. Patient                                 defendants, and thus patient's failure to do so
filed interlocutory appeal.                                                             mandated dismissal of patient's claims against
                                                                                        the home health service and medical center.
                                                                                        Tenn. Code Ann. § 29-26-I22(c).

IHolding:1 The Court of Appeals held that patient's
failure to file a new certificate of good faith as to the                               1 Cases that cite this headnote
home health service and medical center mandated
dismissal of patient's claims against them.


Reversed and remanded.
                                                                                 Appeal from the Circuit Court for Davidson County,
                                                                                 No. 12C4744, Hamilton V. Gayden, Jr., Judge

                                                                                 Attorneys and Law Firms
 West Headnotes (2)                                                              Reid D. Leitner and Leighann D. Ness, Nashville,

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Tennessee, for the appellant, Elk Valley Home Health                Medical Center ("VUMC") on April 4, 2011. Upon
d/b/a Deaconess Homecare.                                           experiencing some hemorrhaging at the incision site, Ms.
                                                                    Sirbaugh was taken back to the operating room. She was
James E. Looper, Jr. and Heather D. Piper, Nashville,               later discharged home and received home health services
Tennessee, for the appellant Hardin Medical Center.                 from Elk Valley Home Health d/b/a Deaconess Homecare
                                                                    ("Deaconess") over the next several months. According to
*47 Joe Bednarz, Jr., and Joe Bednarz, Sr.,                         the complaint, Ms. Sirbaugh experienced pain and
Hendersonville, Tennessee, for the appellee, Susan                  suffering, nausea, vomiting, low grade fever, and
Sirbaugh.                                                           intermittent chest pain during this period.

Steven E. Anderson, Sara F. Reynolds, and Sean C.                   On April 20, 2011, Ms. Sirbaugh went to Hardin Medical
Wlodarczyk, Nashville, Tennessee, for the appellees, The            Center ("HMC") for treatment of the incision opening.
Vanderbilt University and Kevin Hagan, M.D.                         She returned to HMC on July 21, 2011, with complaints
                                                                    of chest pain and was transferred to VUMC via
Opinion
                                                                    ambulance for further evaluation and treatment. During
                Unpublished Text Follows                            this admission to VUMC, additional tests were
                End of Unpublished Text                             performed, and a second surgery took place on July 25,
                                                                    2011, at which time it is alleged that a sponge was
                                                                    discovered and removed.'
John W. McClarty, J., delivered the opinion of the Court,
in which J. Steven Stafford, P.J., M.S., and Brandon 0.             Ms. Sirbaugh submitted pre-suit notice of her intent to file
Gibson, J., joined.                                                 a health care liability' action against Dr. Hagan and
                                                                    VUMC ("the Original Defendants") on April 2, 2012.
                                                                    Seven months later, suit was filed against the Original
                                                                    Defendants on November 20, 2012, seeking damages
                        OPINION                                     allegedly associated with the retained foreign body. A
                                                                    certificate of good faith was attached to the complaint in
                                                                    accordance with Tennessee Code Annotated section
John W. McClarty, J.                                                29--26-122. Neither *48 HMC nor Deaconess were
                                                                    named by Ms. Sirbaugh in the initial complaint.
The plaintiff in this interlocutory appeal filed a complaint
asserting health care liability claims against the original         The Original Defendants filed an answer on March 26,
defendants, at which time she included a certificate of             2013, asserting comparative fault claims against
good faith in accordance with Tennessee Code Annotated              non-parties HMC and Deaconess. As provided by
section 29-26-122. The original defendants asserted                 Tennessee Code Annotated section 29-26-122(b), the
comparative fault against non-party health care providers.          Original Defendants were required to file a certificate of
The plaintiff waived compliance by the original                     good faith establishing a good faith basis for alleging fault
defendants with section 29 26-122(b), which required the            against HMC and Deaconess within thirty days after filing
defendants to file a certificate of good faith regarding the        their answer. Pursuant to Tennessee Code Annotated
non-party health care providers. The plaintiff thereafter           section 29-26-122(c), however, Ms. Sirbaugh orally
amended her complaint to add the named non-party health             waived this requirement. The oral waiver was confirmed
care providers as new defendants but did not file a new             later by letter.
certificate of good faith. The new defendants moved to
dismiss the amended complaint. The trial court denied the           Ms. Sirbaugh amended her complaint on May 30, 2013, to
motions and granted this interlocutory appeal. We                   add HMC and Deaconess as parties ("the New
reverse.                                                            Defendants"). Ms. Sirbaugh did not, however, file a
                                                                    certificate of good faith in conjunction with her amended
                                                                    complaint.

                   I. BACKGROUND                                    Subsequently, both HMC and Deaconess moved for
                                                                    dismissal of the claims against them based on Ms.
The plaintiff, Susan Sirbaugh, underwent a bilateral                Sirbaugh's failure to attach a certificate of good faith to
reduction mammoplasty and panniculectomy, performed                 her amended complaint. They argued that pursuant to
by Kevin F. Hagan, M.D., at Vanderbilt University                   Tennessee Code Annotated section 29-26-122(a), Ms.
                                                                    Sirbaugh was required to submit proof, in the form of a
                                                                           ,over nrnenl VVorks



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certificate of good faith, verifying a good faith basis for
pursuing an action against the newly named defendants.                  HMC argued that Ms. Sirbaugh's waiver of the Original
                                                                        Defendants' requirement to *49 file a certificate of good
According to Ms. Sirbaugh, the good faith certificate                   faith addressing their comparative fault claims did not
requirement only applied to the initial complaint. She                  release her from the obligation to file a certificate of good
argued that if one has filed a certificate of good faith with           faith when she added the New Defendants to the lawsuit.'
the original complaint, the plaintiff is compliant and there            Deaconess added that the requirement to file a good faith
can be no dismissal. Ms. Sirbaugh's counsel stated as                   certificate with a complaint is "mandatory," and "not
follows:                                                                subject to satisfaction by substantial compliance." Myers
                                                                        v. AMISUB (S141), Inc., 382 S.W.3d 300, 310 (Tenn.
             The plain language of the statute                          2012). Thus, Deaconess claimed that Ms. Sirbaugh's
             doesn't say that Plaintiff may                             filing of a certificate of good faith certificate with respect
             waive that requirement [that the                           to VUMC and Dr. Hagan with the initial complaint cannot
             defendant file a certificate of good                       be found to "substantially comply" with the requirement
             faith] if they submit a certificate of                     to file a certificate of good faith with the amended
             good faith. It's presumed that the                         complaint adding HMC and Deaconess. Jenkins v.
             legislature means exactly what they                        Marvel, 683 F.Supp.2d 626 (E.D. Tenn. 2010) was cited
             say, and that if they had meant that                       by Deaconess in support of the claim that the primary
             the Plaintiff had to file a certificate                    purpose of enacting the good faith certificate requirement
             of good faith upon waiving the                             was to ensure that a health care provider will not be sued
             Defendant's obligation to do so,                           for professional negligence unless a plaintiff has first
             they would have said that.                                 conferred with a medical expert to establish that there is a
                                                                        good faith basis for the action. See Tenn. Code Ann. §
Counsel continued:                                                      29---26-122(a)(1); Jenkins, 683 F.Supp.2d at 639 (good
                                                                        faith certificate requirement is to "weed out frivolous
  TCA § 29-26 -121, where the legislature has made a                    lawsuits" before parties incur substantial litigation
  distinction between the original complaint and an                     expenses).
  amended complaint that's filed after an allegation of
  comparative fault.                                                    Bottom line, HMC and Deaconess were sued as health
                                                                        care provider defendants without any certificate of good
  Paragraph C of that statute says, "Once a Complaint is                faith being filed by any party to evidence the opinion of a
  filed alleging a claim for health care liability, the notice          qualified medical expert that there was a good faith basis
  provisions of this section shall not apply to any person              to maintain the action against them consistent with the
  or entity that is made a party to the action thereafter by            requirements of Tennessee Code Annotated section
  amendment to the pleadings as a result of the                         29--26 1 15(a), which provides:
  defendant's alleging comparative fault." So they have
  made that distinction as to the process that somebody                      (a) In a health care liability action, the claimant shall
  has to go through between filing the original complaint                    have the burden of proving by evidence as provided
  and filing a complaint in response to an allegation of                     by subsection (b):
  comparative fault.
                                                                               (1) The recognized standard of acceptable
  The statutes have to be construed to have a purpose. If                      professional practice in the profession and the
  we were to accept [the New Defendants']                                      specialty thereof, if any, that the defendant
  interpretation, it's hard to imagine a situation where                       practices in the community in which the defendant
  Plaintiff would ever waive compliance where they have                        practices or in a similar community at the time the
  to accept the responsibility to file a certificate of good                   alleged injury or wrongful action occurred;
  faith. So that would render this part of the statute
  completely meaningless.... The statute just doesn't put                      (2) That the defendant acted with less than or
  this burden on the Plaintiff. Any statutes have to be                        failed to act with ordinary and reasonable care in
  strictly construed, there is no such burden.                                 accordance with such standard; and

  As far as a good faith basis for alleging comparative                        (3) As a proximate result of the defendant's
  fault, Rule 11 required the lawyers for Vanderbilt to                        negligent act or omission, the plaintiff suffered
  have a good faith basis for making these allegations of                      injuries which would not otherwise have occurred.
  comparative fault when they filed this answer.
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Tenn. Code Ann, § 29-26-115(a)(1)—(3).                                    obligation for Ms. Sirbaugh to submit a certificate of
                                                                          good faith with her amended complaint; and
The trial court granted an interlocutory appeal at the
motion hearing, providing, inter alia, as follows:                        (3) Whether the Original Defendants had an
                                                                          obligation under Tennessee Code Annotated section
            So the Court is going to rule that                            29--26--122 to file a certificate of good faith in
            the Plaintiff did not have to give a                          support of their defense of comparative fault when
            good faith certificate in suing the                           HMC and Deaconess were added as new parties via
            amended defendants, [HMC] and                                 Ms. Sirbaugh's amended complaint due to the
            [Deaconess]. And that'll go up                                allegations of comparative fault asserted by VUMC
            because the statute does say the                              and Dr. Hagan and the effect, if any, that Ms.
            Plaintiff can waive this. And how                             Sirbaugh's waiver under Tennessee Code Annotated
            they can affect Defendants like                               section 29-26-122(c) had on any such obligation
            [Deaconess] and [HMC] is beyond                               under Tennessee Code Annotated section
            me, but that's what the statute                               29-26-122.
            says.... And the Court is going to
            rule that it is not filed outside the
            statute of limitations, which should
            be answered in the appeal.
                                                                                  III. STANDARD OF REVIEW
The court thereafter denied the motions to strike and                Statutory construction is a question of law that we review
dismiss in an order entered on January 15, 2014. We                  de novo without any presumption of correctness. In re
subsequently granted *50 this interlocutory appeal                   Estate of Tanner, 295 S.W.3d 610, 613 (Tenn. 2009). As
pursuant to Rule 9 of the Tennessee Rules of Appellate               noted by our Supreme Court in Myers v. AMISUB (NW),
Procedure.                                                           Inc., 382 S.W.3d 300 (Tenn. 2012):

                                                                       The leading rule governing our construction of any
                                                                       statute is to ascertain and give effect to the legislature's
                                                                       intent. To that end, we start with an examination of the
                        H. ISSUES                                      statute's language, presuming that the legislature
                                                                       intended that each word be given full effect. When the
InUnlike an appeal as of right pursuant to Rule 3 of the
                                                                       import of a statute is unambiguous, we discern
Tennessee Rules of Appellate Procedure, "in which both
                                                                       legislative intent "from the natural and ordinary
the appellant and the appellee have broad latitude with
                                                                       meaning of the statutory language within the context of
regard to the issues that may be raised," the questions we
                                                                       the entire statute without any forced or subtle
may address are limited to "those matters clearly
                                                                       construction that would extend or limit the statute's
embraced within" the issues certified by the trial court.
                                                                       meaning."
Sneed v, The City of Red Bank, Tennessee, 459 S.W.3d 17
(Tenn.2014) (internal citations omitted). We have restated           Id. at 308 (citations omitted). Where statutory language or
the issues identified by the trial court in its order as             a statute's meaning is ambiguous, we review the overall
follows:                                                             statutory scheme, the legislative history, and other
                                                                     sources. In construing multiple statutes, our goal is to
    (1) Whether Ms. Sirbaugh violated Tennessee Code
                                                                     choose the most reasonable construction "which avoids
    Annotated section 29--26-122 by failing to attach a
                                                                     statutory conflict and provides harmonious operation of
    certificate of good faith to her amended complaint
                                                                     the laws." Thurmond v. Mid—Cumberland Infectious
    verifying a good faith basis for pursuing health care
                                                                     Disease Consultants, PLC, 433 S.W.3d 512, 517 (Tenn.
    liability claims against the New Defendants, where
                                                                     2014) (internal quotation marks omitted).
    the New Defendants were added as parties via the
    amended complaint;

    (2) Whether Ms. Sirbaugh's waiver of the
    requirement of the Original Defendants to file a                                     IV. DISCUSSION
    certificate of good faith under Tennessee Code
    Annotated section 29-26-122(c), made when HMC
    and Deaconess were non-parties, creates a statutory

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               Certificate of Good Faith                                     plaintiff to obtain the medical records shall waive
                                                                             the requirement that the expert review the medical
Tennessee Code Annotated section 29-26-122(a) states                         record prior to expert certification.
as follows:
                                                                     Tenn. Code Ann. § 29-26-122(a) (emphasis added).
    *51 (a) In any health care liability action in which             Expert testimony is required under Tennessee Code
    expert testimony is required by § 29-26 115, the                 Annotated section 29-26-115, except where the act of
    plaintiff or plaintiff's counsel shall file a certificate        alleged health care liability lies within the knowledge of
    of good faith with the complaint. If the certificate is          ordinary laymen. See Kenyon v. Handal, 122 S.W.3d 743,
    not filed with the complaint, the complaint shall be             758 (Tenn. Ct. App. 2003). Our Supreme Court in Myers
    dismissed, as provided in subsection (c), absent a               has opined that the filing of a certificate of good faith
    showing that the failure was due to the failure of the           with a complaint is mandatory, and strict compliance is
    provider to timely provide copies of the claimant's              required. Mvcrs, 382 S.W.3d at 308. We note that
    records requested as provided in § 29-26-121 or                  Tennessee Code Annotated section 29-26-122(a)(2)(B)
    demonstrated extraordinary cause. The certificate of             specifically references "each defendant."
    good faith shall state that:
                                                                     Pursuant to Tennessee Code Annotated section
      (1) The plaintiff or plaintiff's counsel has                   29--26-122(b), a defendant who identifies comparative
      consulted with one (1) or more experts who have                fault by a non-party is required to file a certificate of good
      provided a signed written statement confirming                 faith regarding the non-party at fault within thirty days
      that upon information and belief they:                         after the filing of the answer:
      (A) Are competent under § 29-26-115 to express                      (b) Within thirty (30) days after a defendant has
      an opinion or opinions in the case; and                             alleged in an answer or amended answer that a
                                                                          non-party is at fault for the injuries or death of the
      (B) Believe, based on the information available                     plaintiff and expert testimony is required to prove
      from the medical records concerning the care and                    fault as required by *52 § 29 26-115, each
      treatment of the plaintiff for the incident or                      defendant or defendant's counsel shall file a
      incidents at issue, that there is a good faith basis to             certificate of good faith stating that:
      maintain the action consistent with the
      requirements of § 29-26 115; or                                       (1) The defendant or defendant's counsel has
                                                                            consulted with one (1) or more experts, which
      (2) The plaintiff or plaintiff's counsel has                          may include the defendant filing the certificate of
      consulted with one (1) or more experts who have                       good faith, who have provided a signed written
      provided a signed written statement confirming                        statement confirming that upon information and
      that upon information and belief they:                                belief they:
      (A) Are competent under § 29-26-115 to express                        (A) Are competent under § 29-26- 115 to express
      an opinion or opinions in the case; and                               an opinion or opinions in the case; and
      (B) Believe, based on the information available                       (B) Believe, based on the information reviewed
      from the medical records reviewed concerning the                      concerning the care and treatment of the plaintiff
      care and treatment of the plaintiff for the incident                  for the incident or incidents at issue, that there is a
      or incidents at issue and, as appropriate,                            good faith basis to allege such fault against
      information from the plaintiff or others with                         another consistent with the requirements of §
      knowledge of the incident or incidents at issue,                      29-26-115; or
      that there are facts material to the resolution of the
      case that cannot be reasonably ascertained from                       (2) The defendant or defendant's counsel has
      the medical records or information reasonably                         consulted with one (1) or more medical experts,
      available to the plaintiff or plaintiff's counsel; and                which may include the defendant filing the
      that, despite the absence of this information, there                  certificate of good faith, who have provided a
      is a good faith basis for maintaining the action as                   signed written statement confirming that upon
      to each defendant consistent with the                                 information and belief they:
      requirements of § 29-26-115. Refusal of the
      defendant to release the medical records in a                         (A) Are competent under § 29-26--115 to express
      timely fashion or where it is impossible for the




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       an opinion[ ] or opinions in the case; and                                     this section, can assert, and
                                                                                      neither shall the judge nor jury
       (B) Believe, based on the information reviewed                                 consider, the fault, if any, of
       concerning the care and treatment of the plaintiff                             those identified by the
       for the incident or incidents at issue, that there are                         allegations. The court may, upon
       facts material to the resolution of the case that                              motion, grant an extension *53
       cannot be reasonably ascertained from the                                      within which to file a certificate
       information reasonably available to the defendant                              of good faith if the court
       or defendant's counsel; and that, despite the                                  determines that a health care
       absence of this information, there is a good faith                             provider who has medical
       basis for alleging such fault against another,                                 records relevant to the issues in
       whether already a party to the action or not,                                  the case has failed to timely
       consistent with the requirements of § 29-26-115.                               produce medical records upon
                                                                                      timely request, or for other good
Tenn. Code Ann. § 29-26-122(b).                                                       cause shown.

Pursuant to Tennessee Code Annotated section                           Tenn. Code Ann. § 29-26 122(c)(emphasis added).
29--26-122(c), a plaintiff faced with a defendant who
raises comparative fault allegations against a non-party              PlIn this action, when Ms. Sirbaugh filed her initial
may:                                                                  complaint, the expert's opinion was predicated on his or
                                                                      her belief that there was a good faith basis to maintain the
  • Allow the defendant to timely file the requisite
                                                                      cause of action against the Original Defendants, VUMC
  certificate of good faith and either (a) file suit against
                                                                      and Dr. Hagan. As permitted in § 29-26-122(e), Ms.
  the non-party subject to -122(a), or (b) face the risk of
                                                                      Sirbaugh apparently waived the requirement that the
  fault being assigned to a non-party at trial;
                                                                      Original Defendants file a certificate of good faith when
                                                                      they made allegations against non-party health care
  • Seek to strike the allegations of comparative fault if
  the defendant fails to timely file the certificate of good          providers. However, when Ms. Sirbaugh learned that
                                                                      HMC and Deaconess might be at fault, waived the filing
  faith; or
                                                                      of a certificate of good faith by the Original Defendants,
  • Waive the defendant's requirement to file a certificate           and decided to amend her complaint to add the
  of good faith and either (a) file suit against the                  non-parties, "she was required to consult with an expert to
  non-party subject to -122(a), or (b) face the risk of               determine whether there was a good faith basis to
  fault being assigned to a non-party at trial.                       maintain a cause of action against [HMC and Deaconess]
                                                                      and to file a certificate indicating as such with her
Tennessee Code Annotated section 29-26-122(c)                         amended complaint"' adding them as defendants. Groves
specifically provides:                                                v. Colburn, No. M2012-01834--00A-R3-CV, 2013 WL
                                                                      3964758, at *3 (Tenn. Ct. App. July 30, 2013). Like we
              (c) The failure of a plaintiff to                       noted in Groves, "[s]ince the allegations changed to claim
              file a certificate of good faith in                     ... liability based on different facts, a new certificate based
              compliance with this section                            upon the expert's review of newly alleged facts was
              shall, upon motion, make the                            necessary." Id. The purpose of this mandate is to ensure
              action subject to dismissal with                        that there has been expert certification of a good faith
              prejudice. The failure of a                             basis for maintaining a claim against any new defendant.
              defendant to file a certificate of
              good faith in compliance with                           Like the plaintiff in Groves, Ms. Sirbaugh failed to file a
              this section alleging the fault of a                    second certificate of good faith with her amended
              non-party shall, upon motion,                           complaint that certified an expert's review of the facts and
              make such allegations subject to                        claims specific to HMC and Deaconess and the belief that
              being stricken with prejudice                           there was a good faith basis for pursuing the claims
              unless the plaintiff consents to                        against them. As the Groves decision makes clear, Ms.
              waive compliance with this                              Sirbaugh could not rely on the certificate of good faith
              section. If the allegations are                         filed with the initial complaint because that certificate was
              stricken, no defendant, except for                      predicated on an expert's belief that there was a good
              a defendant who complied with                           faith basis to maintain the cause of action against the

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Original Defendants and not the New Defendants.                                                     V. CONCLUSION
Groves, 2013 WL 3964758, at *3. Ms. Sirbaugh was
obligated to file a statutorily compliant certificate of good                 For the foregoing reasons, the trial court's ruling on the
faith with her amended complaint. She violated Tennessee                      motions to dismiss is reversed. The case is remanded to
Code Annotated section 29-26--122 by failing to do so.                        the *54 trial court for entry of an order dismissing the
Therefore, dismissal of the claims against HMC and                            amended complaint adding Hardin Medical Center and
Deaconess was mandated. See Portwood v. Montgomery                            Elk Valley Home Health d/b/a Deaconess Homecare as
Cniy., Tenn., No. 3:13—cv-0186, 2013 WL 6179188                               defendants. Costs of this appeal are assessed against
(M.D. Tenn. Nov. 25, 2013) ("If either a plaintiff or a                       appellee Susan Sirbaugh for which execution may issue if
defendant fails to comply with Section 122, the plaintiff's                   necessary.
complaint or the defendant's allegations of fault against a
non-party are, upon motion, subject to mandatory
dismissal with prejudice.").
                                                                              All Citations

Our ruling regarding the above issue, which dismisses the
                                                                              469 S.W.3d 46
claims against HMC and Deaconess, pretermits
consideration of the other issues presented.



Footnotes

1          In Dr. Hagan's operative report he states he found "a sponge, which was some type of a 4 x 4 sponge without any radiologic
           markers." The Surgical Pathology Report indicates "retained foreign object" and "consists of single strip of surgical gauze
           measuring 23.8 x 7.1 x 0.3 cm,"

2          In 2012, Tennessee Code Annotated sections 29-26-115 to —122 and section —202 of the Medical Malpractice Act were amended
           to replace "medical malpractice" with "health care liability." Act of Apr. 23, 2012, ch. 798, sections 7 to 15, §4 29-26-115 to —122
           & —202.

3          HMC, as a governmental entity, additionally sought dismissal based on Ms. Sirbaugh's failure to timely file her claim against it
           within the statute of limitations applicable to claims falling under the Governmental Tort Liability Act ("GTLA"),

4          This court has previously indicated its belief that this holding is consistent with Tennessee Code Annotated section 29-26-122(b),
           which requires defendants who allege fault against non-parties to file a certificate of good faith with their answer. Groves, 2013
           WL 3964758, at *3, n. 5.




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